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12

13                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
14                                     SAN FRANCISCO DIVISION

15                                                     Master File No. 3:23-cv-03223-AMO
     IN RE OPENAI CHATGPT LITIGATION
16
     This document relates to:                         DECLARATION OF JOSEPH R. SAVERI
17                                                     IN SUPPORT OF PLAINTIFFS’
     Case No. 3:23-cv-03416-AMO                        MOTION TO ENJOIN DEFENDANTS
18   Case No. 3:23-cv-04625-AMO                        AND THEIR COUNSEL FROM
                                                       PROCEEDING IN SUBSTANTIALLY
19                                                     SIMILAR CASES IN THE SOUTHERN
                                                       DISTRICT OF NEW YORK
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       Master File No. 3:23-cv-03223-AMO
       DECLARATION OF JOSEPH R. SAVERI IN SUPPORT OF PLAINTIFFS’ MOTION TO ENJOIN DEFENDANTS
        AND THEIR COUNSEL FROM PROCEEDING IN SUBSTANTIALLY SIMILAR CASES IN THE SOUTHERN
                                         DISTRICT OF NEW YORK
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 1           I, Joseph R. Saveri, declare as follows:

 2           1.     I am the Founder of the Joseph Saveri Law Firm, LLP (“JSLF”) and am its Managing

 3   Partner. I am a counsel of record for Plaintiffs in this matter. I submit this Declaration in support of

 4   Plaintiffs’ Motion to Enjoin Defendants and Their Counsel from Proceeding in the substantially similar

 5   cases filed in the Southern District of New York, three of which are consolidated under Authors Guild et

 6   al., v. OpenAI, Inc. et al., Case No. 1:23-cv-08292-SHS (S.D.N.Y. Sep. 19, 2023). The fourth case is brought

 7   on behalf of an individual entity. See The N.Y. Times Co. v. Microsoft Corp. et al., Case No. 23-cv-11195

 8   (S.D.N.Y. Dec. 27, 2023). I have personal knowledge of the facts set forth in this Declaration. If called as a

 9   witness, I could and would testify competently to them. I make this declaration pursuant to 28 U.S.C. §

10   1746.

11           2.     JSLF, on behalf of Plaintiffs, filed the Class Action Complaint initiating the instant action

12   on June 28, 2023. ECF No. 1. That Complaint is the currently operative complaint.

13           3.     On July 19, 2023, JSLF, on behalf of Plaintiffs, filed an administrative motion to relate

14   Tremblay et al. v. OpenAI, Inc. et al., Case No. 3:23-cv-03223-AMO (N.D. Cal. June 28, 2023) (“Tremblay

15   Action”) to Silverman et al. v. OpenAI, Inc. et al., Case No.4:23-cv-03416-KAW (N.D. Cal. July 7, 2023)

16   (“Silverman Action”). ECF No. 16. On July 28, 2023, the Court granted the Administrative Motion to

17   relate. ECF No. 26. On September 20, 2023, Plaintiffs filed a motion to relate Chabon et al. v. OpenAI, Inc.

18   et al., Case No. 4:23-cv-04625-PHK (N.D. Cal. Sept. 8, 2023) (“Chabon Action”) to the Tremblay Action.

19   ECF No. 46. On October 10, 2023, the Court granted Plaintiffs’ administrative motion to relate. ECF No.

20   54.

21           4.     On October 5, 2023, the Court conducted a case management conference. During that

22   conference, the parties discussed, among other things, the pretrial litigation schedule for the case. The

23   schedule Plaintiffs submitted provided a schedule for the completion of merits and expert discovery, class

24   certification, and dispositive motions consistent with Rule 23 and settled class action practice. Defendants

25   sought to schedule dispositive motions prior to class certification. After hearing from counsel, the Court

26   asked for letter briefs on the issues of scheduling summary judgment, class certification and the application

27   of the one-way intervention rule.

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                                             OF NEW YORK
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 1           5.      On October 17, 2023, the parties submitted letter briefs, as requested by the Court. ECF

 2   Nos. 56, 57. On November 8, 2023, the Court held a status conference, where the pretrial litigation

 3   schedule in this case was discussed and decided. Among other things, the Court accepted Plaintiffs’

 4   proposal, setting class certification prior to dispositive motions. ECF No. 77 at 12-13; ECF No. 51. Under

 5   that schedule, the close of fact discovery is October 29, 2024. The close of expert discovery is March 13,

 6   2025. Motions for Class Certification and Daubert motions are due by April 10, 2025. Oppositions to Class

 7   Certification and Daubert motions are due by June 24, 2025.

 8           6.      The parties have relied on that order and litigation is well underway. Counsel for the parties

 9   conducted a Rule 26(f) conference on September 14, 2023. The parties have exchanged initial disclosures.

10   Plaintiffs and Defendants have served and responded to requests for documents and interrogatories.

11   Plaintiffs and Defendants served each other with Requests for Production and Interrogatories on

12   December 13, 2023. The parties issued objections and responses to each other’s requests, and the parties

13   are in the process of meeting and conferring regarding outstanding discovery requests. On October 26,

14   2023, the parties stipulated to consolidation of the Tremblay, Silverman, and Chabon Actions. ECF No. 60.

15   The case is proceeding on schedule.

16           7.      Counsel for the parties have litigated a Rule 12 motion and discovery is proceeding. In

17   contrast, the S.D.N.Y. Actions are not substantially advanced. I have reviewed the dockets in those

18   matters and it reveals that other than filing the complaints, the matter is not substantially advanced. There

19   has been no motion practice and discovery is not underway. Other than motions for lead counsel, there has

20   been little activity in the cases until recently.

21           8.      I have reviewed the complaints filed in the consolidated Authors Guild case. They are

22   substantially identical to the Tremblay Action. Each purport to represent proposed classes that are

23   coextensive with and entirely subsumed by the class proposed in the instant Action. They are each copies

24   of the instant action. I have reviewed the complaint filed in the N.Y. Times case, which is substantially

25   similar to the instant Action. The Plaintiff in N.Y. Times is subsumed by the class proposed in the instant

26   Action. Plaintiffs in each action allege that OpenAI, Inc. and its affiliated entities committed direct

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      Master File No. 3:23-cv-03223-AMO        2
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 1   copyright infringement when they made and used copies of Plaintiffs’ books—without Plaintiffs’

 2   permission—during the process of training OpenAI’s language models.

 3           9.     As explained further in the brief, under the first-to-file rule, Defendants should be enjoined

 4   from proceeding in the substantially similar case in Southern District of New York during the pendency of

 5   the In Re OpenAI ChatGPT Litigation.

 6           10.    Attached hereto as Exhibit A is a true and correct copy of the First Consolidated Class

 7   Action Complaint filed in Authors Guild et al. v. OpenAI, Inc. et al., Case No. 1:23-cv-08292-SHS

 8   (S.D.N.Y. Feb. 5, 2024).

 9           11.    Attached hereto as Exhibit B is a true and correct copy of the original Complaint filed in

10   Authors Guild et al., v. OpenAI, Inc. et al., Case No. 1:23-cv-08292-SHS (S.D.N.Y. Sep. 19, 2023).

11           12.    Attached hereto as Exhibit C is a true and correct copy of the original Complaint filed in

12   Sancton et al. v. OpenAI, Inc. et al., Case No. 23-cv-10211-SHS (S.D.N.Y. Nov. 21, 2023).

13           13.    Attached hereto as Exhibit D is a true and correct copy of the original Complaint filed in

14   Basbanes et al. v. Microsoft Corp. et al., Case No. 24-cv-00084 (S.D.N.Y. Jan. 5, 2024).

15           14.    Attached hereto as Exhibit E is a true and correct copy of the original Complaint filed in

16   The N.Y. Times Co. v. Microsoft Corp. et al. Case No. 1:23-cv-11195 (S.D.N.Y. Dec. 27, 2023).

17           I declare under penalty of perjury that the foregoing is true and correct. Executed on February 8,

18   2024.

19                                                    By:   /s/Joseph R. Saveri
                                                            Joseph R. Saveri
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      Master File No. 3:23-cv-03223-AMO        3
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